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 1   DAVID A. TORRES AND ASSOCIATES
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     JAIME LYNE SANCHEZ
 6

 7                           IN THE UNITED STATES DISTRICT COURT
 8
                          FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
                                                       ) Case No.: 14-CR-00179 LJO-SKO
10   UNITED STATES OF AMERICA,                         )
                                                       )
11                   Plaintiff,                        ) DEFENDANTS REQUEST AND WAIVER
                                                       ) OF APPEARANCE
12           vs.                                       )
                                                       )
13   JAIME LYNE SANCHEZ,                               )
                                                       )
14                   Defendant                         )
15   Defendant, JAIME LYNE SANCHEZ, hereby waives her appearance in person in open court
16   upon the status conference hearing set for Monday, September 15, 2014 at 1:00 p.m. in
17   Courtroom 7 of the above entitle court. Defendant hereby requests the court to proceed in her
18   absence and agrees that her interest will be deemed represented at said hearing by the presence of
19   his attorney, DAVID A. TORRES. Defendant further agrees to be present in person in court at
20   all future hearing dates set by the court including the dates for jury trial.
21

22   Date: 9/11/14                                                   _/s/ Jamie Lyne Sanchez______ ___
23
                                                                     JAME LYNE SANCHEZ

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                                         Summary of Pleading - 1
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 1                                              ORDER

 2          Good cause appearing.

 3          IT IS HEARBY ORDERED that defendant JAIME LYNE SANCHEZ is hereby

 4   excused from appearing at this court hearing scheduled for September 15, 2014.

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 6
     IT IS SO ORDERED.
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 8
        Dated:    September 11, 2014                           /s/ Sheila K. Oberto
                                                     UNITED STATES MAGISTRATE JUDGE
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                                      Summary of Pleading - 2
